                   SIXTH DISTRICT COURT OF APPEAL
                          STATE OF FLORIDA
                         _____________________________

                              Case No. 6D2023-1061
                        Lower Tribunal No. CF17-10241-XX
                        _____________________________

                                     CURTIS GANT,

                                      Appellant,
                                          v.

                                   STATE OF FLORIDA,

                                       Appellee.
                         _____________________________

Appeal Pursuant to Fla. R. App. P. 9.141(b)(2) from the Circuit Court for Polk County.
                              Lori A. Winstead, Judge.

                                    August 27, 2024

PER CURIAM.

      AFFIRMED.

SMITH, BROWNLEE and GANNAM, JJ., concur.


Curtis Gant, Indiantown, pro se.

Ashley Moody, Attorney General, Tallahassee, and David Campbell, Assistant Attorney
General, Tampa, for Appellee.


NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING AND
             DISPOSITION THEREOF IF TIMELY FILED
